Civil action tried upon the following issues:
"1. Was the plaintiff injured by the negligence of the Durham and South Carolina Railroad Company, as alleged in the complaint? Answer: `Yes.'
"2. What amount of damages, if any, is the plaintiff entitled to recover? Answer: `$2,750.'"
Judgment on the verdict in favor of plaintiff. Defendant appealed, assigning errors.
The trial of this cause reduced itself to a controversy over issues of fact, which the jury alone could determine. A careful perusal of the record convinces us that the case has been tried substantially in accordance with the law bearing on the subject, and we have discovered no ruling or action on the part of the trial court which would seem to require another hearing. The chief exceptions are those directed to alleged errors in the charge and to the court's refusal to grant the defendant's motion for judgment as in case of nonsuit. There is nothing on the record which entitles the defendant to a new trial or to a dismissal.
No error. *Page 773 